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                                                 U.S. Department of Justice

                                                                 United States Attoraey
                                                                 District of Maryland

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                                                                November 12,2021

David W. Fischer, Esq.
Fischer & Putzi, P.A.
7310 Ritchie Hwy, Glen Bumie, MD 21061

              Re:         United States v. Desmond Babloo Singh, Criminal No. RDB-2I-I 16

Dear Counsel:

      This lefter, together with the Sealed Supplement, confirms the plea agreement (this
"Agreement") that has been offered to your client, Desmond Babloo Singh (hereinafter
"Defendant"), by the United States Attomey's Offrce for the District of Maryland ('fthis Office").
If the Defendant accepts this ofer, please have the Defendant execute it in the spaces provided
below. Ifthis offer has not been accepted by December 3, 2021, it will be deerned withdrawn. The
terms of the Agreement are as follows:

                                                  Offense of Conviction

1.       The Defendant agrees to plead guilty to Counts One and Two of the Indictment, which
charge him with Cybentalking in violation of l8 U.S.C. $ 2261A(2). The Defendant admits that
he is, in fact, guilty of the offenses and will so advise the Court.

                                                 Elements of the offense

2.      The elements ofthe offenses to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows: That on or about the time alleged
in the Indictment, in the District of Maryland, the Southern and Eastern Districts of New York,
and elsewhere, the Defendant,

                    a.     With the intent to kill, injure, harass, intimidate, or place under surveillance with
                           intent to kill. injure, harass, or intimidate another person;

                    b.     Used the mail, any interactive computer service or electronic communication
                           service or electronic communication system of interstate commerce, or any other
                           facility of interstate or foreign commerce;

                    c.     To engage in a course ofconduct;

                    d.     That placed that person in reasonable fear of the death of or serious bodily injury to
                           a person, a pet, a service animal, an emotional support animal, or a horse or causes,
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               attempts to cause, or would be reasonably expected to cause substantial emotional
               distress to a person.

                                              Penalties

3.       The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:

 CT.    STATUTE          MAND.           MAX                MAX SUPERYISED       MAX       SPECIAL
                          MIN         IMPRISON-                RELEASE           FINE      ASSESS
                       IMPRISON-        MENT                                                MENT
                         MENT
  I     18 U.S.C. $       N/A             5 years                3 years       $250,000       sl00
         22614(2)
  2     18 U.S.C. $        N/A            5 years                3 years       s250,000       s100
         2261A(2\

       a.      Prison: Ifthe Court     orders a term of imprisonment, the Bureau ofPrisons has sole
discretion to designate the institution at which it will be served.

       b.      Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
retumed to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

       c.      Restitution: The Court may order the Defendant to pay restitution pursuant to         18
U.S.C. $$ 3663,3663A, and 3664.

       b.         Payment: If a fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. $ 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

        c.      Collection of Debts: If the Court imposes a fine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting the debt. If the Court estatrlishes a
schedule of payments, the Defendant agrees that: ( I ) the ful1 amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgrnent; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the moneyjudgment is satisfied, the Defendant authorizes
this Office to obtain a credit report in order to evaluate the Defendant's ability to pay, and to
request and review the Defendant's federal and state income tax returns. The Defendant agrees to
complete and sign a copy of IRS Fonn 8821 (relating to the voluntary disclosure of federal tax
retum infomration) and a financial statement in a form provided by this Office.




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                                         Waiver of Rights

4.      The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

          a.   Ifthe Defendant had pled not guilty and persisted in that ple4 the Defendant would
have had the right to a speedy jury aial with the close assistance of competent counsel. That trial
could be conducted by a judge, without a jury, if the Defendant, this Offrce, and the Court all
agreed.

          b.   If   the Defendant elected a jury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opporuniry
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty ofany count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

          c.  If the Defendant went to trial, the govemment would have the burden of proving
the Defendant guilry beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government's wihesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

          d.    The Defendant would have the right to testifu in the Defendant's own defense ifthe
Defendant so chose, and the Defendant would have the right to refuse to testiff. If the Defendant
chose not to testifr, the Court could instnrct thejury that they could not draw any adverse inference
from the Defendant's decision not to testiry.

          e.   Ifthe Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court's pretrial and trial decisions on the admissibility ofevidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court's
decisions.

          f.   By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court's questions both about the rights being given up and about the facts of the
case. Aay statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statemant.

          g.     Ifthe Court accepts the Defendant's plea ofguilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilry.


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        h. By pleading guilty, the Defendant will also be giving up certain valuable civil rights
and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject ofa separate proceeding, however,
and the Defendant understands that no one, including the Defendant's attomey or the Court, can
predict with certainty the effect of a conviction on inmigation status. The Defendant is not relying
on any promise or belief about the immigration consequences ofpleading guilty. The Defendant
nevertheless affirms that the Defendant wants          to plead guilty    regardless   of any   potential
immi gration consequences.

                             Advisorv S entencing Guidelines Apply

5.     The Defendant understands that the Court       will determine   a sentencing guidelines range   for
this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. $$ 3551-3742 (excepting 18 U.S.C. $ 3553OX1) and 3742(e)) and
28 U.S.C. $$ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account tlle
advisory guidelines range in establishing a reasonable sentence.

                           lactual aod Advisorv Guidelines Stipulation

6.      This Office and the Defendant stipulate and agree to the Statement of Facts set forth in
Attachment A, which is incolporated by reference herein. This Offrce and the Defendant further
agrees that the applicable guidelines are as follows:

       a.      This Offrce and the Defendant agree that the applicable base offense level is 18
pursuant to U.S.S.G. $ 2A6.2.

       b.      This Office and the Defendant agree that the offense level is increased by 2 levels
under U.S.S.G. g 2A6.2 because the offense involved a pattem of activity involving stalking,
threatening, harassing, or assaulting the same victim.

       c.       This Oftice and the Defendant agree that the base offense level is further increased
by 2 levels under the grouping rules in Section 3D ofthe Guidelines, as the offenses involved two
distinct victims.

       d.        This Office does not oppose a 2Jevel reduction in the Defendant's adjusted offense
level pursuant   to U.S.S.G. $ 3E1.1(a), based upon the Defendant's apparent prompt recognition
and affrmative acceptance of personal responsibility for the Defendant's criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. $ 3El.lO) for an additional l-level decrease
in recognition of the Defendant's timely notification of the Defendant's intention to enter a plea
of guilty. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
$ 381.1(a) and may decline to make a motion pursuant to U.S.S.G. $ 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant's involvement in the offense; (iv) is
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untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date ofthis Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way.

7.      There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's criminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to be a Career Offender or if the instant offense was
a part ofa pattem of criminal conduct from which the Defendant derived a substantial portion of
the Defendant's income.

8.      Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential deparnres or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

                                     Obligations of the Parties

9.      At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
reasonable sentence and/or fine considering any appropriate factors under 18 U.S.C. $ 3553(a).
This Office and the Defendant reserve the right to bring to the Court's attention all information
with respect to the Defendant's background, character, and conduct that this Office or the
Defendant deem relevant to sentencing, including the conduct that is the subject ofany counts of
the lndictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant.

10.     This Oflice and the Defendant agree to jointly recommend that the Court impose a 3-
year term of supervised release as part of the Defendant's sentence. The parties further agree to
jointly recommend that the Court impose the conditions listed below as conditions of the
Defendant's supervised release. Nothing about this agreement shall prevent the Court from
imposing additional or other conditions of supervised release, and the parties are free to advocate
for or against other conditions of supervised release (other than the mandatory and standard
conditions and the conditions set forth immediately below).

           a.   The Defendant shall, for the duration of his terrn of supervised release, participate
                in a mental healtl program approved by the U.S. Probation Office.

           b.   The Defendant shall not contact either of the rwo victims that were the subject of
                his cyberstalking activity or any of the victims' family members or relatives. If the
                Defendant has contact with any of these individuals, he shall report any such
                contained to his probation oflicer within 24 hours.

           c    The Defendant shall refrain, for the duration ofhis term ofsupervised release, from
                using social media or online messaging forums, except forums or media approved
                in advance by the U.S. Probation Office as necessary to participate in a formal
                educational program, such as a degree or certificate program, or to engage in
                medical, legal, or religious services. If engaging in activity approved by his

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                   probation officer, the Defendant shall refrain from posting about or discussing
                   either of the victims, their family mernbers, or relatives.

              d.   The Defendant must allow the probation offrcer to install computer monitoring
                   software on any computer (as defined in l8 U.S.C. g I030(e)(1)) he uses.

              e.   To ensure compliance with the computer monitoring condition, the Defendant must
                   allow the probation officer to conduct initial and periodic unannounced searches of
                   any computers (as defined in 18 U.S.C. $ 1030(e)(1)) subject to computer
                   monitoring. These searches shall be conducted for the purposes of determining
                   whether the computer contains any prohibited data prior to installation of the
                   monitoring software; to detennine whether the monitoring software is functioning
                   effectively after its installation; and to determine whether there have been attempts
                   to circumvent the monitoring software after its installation. The Defendant must
                   warn any other people who use these computers that the computerc may be subject
                   to searches pursuant to this condition.

                                            Waiver of Aopeal

II   .  In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

         a.      The Defendant knowingly waives all right, pursuant to 28 U.S.C. g l29l or any
other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver ofall right to appeal the Defendant's conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope ofthe statute.

         b.     The Defendant and this Office knowingly and expressly waive all rights conferred
by l8 U.S.C. $ 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order ofrestitution) for any reason (including the establishment
ofthe advisory sentencing guidelines range, the detennination ofthe Defendant's criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition ofany term of imprisonment, fine, order of forfeiture, order of restitution, and terrn or
condition of supervised release), except as follows:

                   (D
                    The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

                   (il)   This Office reserves the right to appeal any sentence below a statutory
murmum

         c.     The Defendant waives any and all rights under the Freedom of lnformation Act
relating to the investigation and prosecution ofthe above-captioned matter and agrees not to file
any request for documents from this Ofiice or any investigating agency.




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                       Defendant's Conduct Prior to Sentencine and Breach

12. a.           Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction ofjustice under U.S.S.G. $ 3C l.l ; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Offrce, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

       b.      If the Defendant engages in conduct prior to sentencing that violates the       above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement;
and (iii) in any criminal or civil proceeding, this Offrce will be free to use against the Defendant
all statements made by the Defendant and any of the information or materials provided by the
Defendant, including statements, information, and materials provided pursuant to this Agreement,
and statements made during proceedings before the Court pursuant to Rule I I ofthe Federal Rules
of Criminal Procedure. A determination that this Ofhce is released from its obligations under this
Agreement will not permit the Defendant to withdraw the guilty plea. The Defendant
acknowledges that the Defendant may not withdraw the Defendant's guilty plea if the Court finds
that the Defendant breached the Agreement. In that event, neither the Court nor the Government
will be bound by the specific sentence or sentencing range agreed and stipulated to herein.

                                         Court Not a Paqv

13.     The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Deferdant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines Elnge or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

                                          Entire Agreement

14.      This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Offrce other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, siped by all parties and approved by t}te Court.

        If the Defendant fully accepts each and every term and condition ofthis Agreement, please
sigrr and have the Defendant sign the original and return it to me promptly.

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                                             Very truly yours.
                                             Erek L. Barron
                                             United States Attorney

                                         By: Christopher M. Kigali'
                                             AssistMit United States Attorney
1 have read this Agreement, including the Sealed Supplement, and carefully reviewed every part
of it with my attomey. I understand it and I voluntarily agree to it. Specifically, I have reviewed
the Factual and Advisory Guidelines Stipulation with my attomey and I do not wish to change any
part of it. 1 am completely satisfied with the representation of my attorney.

 11/22/2021                                      t)e9vW^Si^
Date                                         Desmond B. Singh
I am the Defendant's attomey. 1 have carefully reviewed every part of this Agreement, including
the Sealed Supplement with the Defendant. The Defendant advises that he understands and accepts
its terms. To my knowledge, the Defendant's decision to enter into this Agreement is an informed
and voluntary one.                        ^


Date                                         David W. Fischer, Esq. ^




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                                     ATTACHMENT A
                                 STIPULATION OF FACTS

        The undersigted parties stiryldte and agree that if this case had proceeded to trial, this
Offtce would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

        The Defendant, Desmond Babloo Singh, knew Victim 1, "A.8.," as a former classmate of
his older sister. No later than January or February of 2020, Singh, who was living in New York,
had developed a romantic interest in A.8., which he expressed to A.B. in a number of online
communications around Valentine's Day, 2020. A.B. told Singh that she was not interested in him
romantically and ultimately asked Singh not to contact her. Singh responded by commencing a
months' long cyberstalking campaign against A.B. and G.D., the latter of whom Singh perceived
to be a romantic rival of sorts. Singh's course of conduct with respect to A.B. and G.D. caused or
auempted to cause substantial emotional distress to both A.B. and G.D.
       Singh's Cyberstalhing Campaiga Against Victim          I
         Beginning on approximately April 18, 2020, and continuing through at least November 24,
2020, Singh used more than one hundred different social medi4 electronic communication, and
phone accounts to create harassing communications targeted at A.8., who resided in Maryland.
These communications, which numbered in the hundreds and included public posts, private social
media messages, text messages, and other online postings, included express and implied threats of
death and bodily injury, sexualized violence, and racial slurs. Many of the accounts created and
used by Singh incorporated A.B.'s true name, making it appear as ifthe accounts were owned and
operated by her. For example, Singh used a social media account he created-which incorporated
A.B.'s name-to send A.B. an image of several individuals hanging from nooses; Singh
superimposed the faces of A.B. and her parents on the hanged individuals. Singh used another
social media account-which likewise used A.B.'s name-to post a picture of a mourning family
at a grave site, in which Singh superimposed the face ofA.B.'s mother over the face ofthe grieving
mother. Another theme of Singh's posts, which were made from accounts using A.B.'s name, was
the assertion that A.B. was "obsessed" with Singh. Singh frequentty used images of A.B. in his
harassing communications, in which he denigrated her character and appeamnce.

       A.B. pleaded with Singh to cease the harassment, which pleas went unheeded. ln or about
May 2020, A.B. told Singh over text message that if he didn't stop harassing her, she would seek
a no-contact order. Singh responded on or about May 30, 2020, stating: "[E]xpect a wave of the
wost possible s*** to happen to you lmao." On or about June 2, 2020, Singh added: "[Y]ou think
im kidding im genuinely never going to stop[,] it's going to be really frmny[,] your Ir***']* fbt
a** thought you could f'*** with me like this lrnfao."
       ln furtherance of his harassment campaign against A.B., Singh sought to solicit others to
harass A.B. as well. One method Singh employed was "doxing" A.B. by posting her personal
information online. In one online posting, for example, Singh shared A.B.'s name, birth date,
personal phone number, school, social media identities, and other identifuing information,
accompanied by the text: *UGLY [RACIAL SLUR] GIRL PLS DO MORE TO HER."
       On or about July 19,2020, A.B. received a "follow" request on a social media platform
from an account Singh created. singh had posted on this account pictures of A.B. and her family
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home. Through this account, Singh also posted A.B.'s parents' address in Maryland and stated
there would be a party there the following day. The following day, July 20, 2020, a Baltimore
County Police DeparEnent employee received an anonymous email telling law enforcement to
investigate *ASAP" a possible bomb at the parents' home. Law enforcement offrcers responded
to the residence only to learn that the bomb threat was a hoax. The federal investigation into
Singh's conduct revealed that Singh had solicited another individual to ..swat,, A.B.,s parents'
home.
        Finally, a component of Singh's harassment of A.B. was his hacking of several of A.B.,s
social media accounts. specifically, on or about July 19,2020, singh gained unauthorized access
to A.B.'s Snapchat account and changed the email address associated with the account to an email
account created and controlled by him. And on November 23, 2020, Singh gained unauthorized
access to A.B.'s TikTok account and changed the email ad&ess associated with the account. Once
in control of the TikTok account, Singh posted several pictures of himself with the caption..omg
he's so hot! !!"
        Among other evidence recovered by federal investigators were "notes" found in Singh's
smart phone after his arrest. Among other things, tlese notes documented Singh's plans to harass
A.B., and several of the notes tracked precisely language that he subsequently used in harassing
social media posts or messages. As just one example, a July 7, 2020 "online;' to-do list of sorts-,
read: "Bully [G.D.] more / reiterate [racial slur] facial features (proof physical) / Promote like
tweet 10000x / 100x More reciprocation fiom the b****s ugly friends . . . . Beat up family if I see
them ever anywhere / take pics of [A.B.] irl make fun[,] verbal abuse direct not indirect toie.s.l.-
The notes also contained A.B.'s personal information, including her address, email addressis,
parents' names, and phone number.

        ^Sr'ngi's Cyberctalking Campaign Against Waim 2
        Singh's cyberstalking and harassment campaign also targeted G.D., also a Maryland
resident, who Singh perceived to be a romantic rival. As he did with A.B., Singh created numerous
social media accounts intended to harass and intimidate G.D., several of which incorporated G.D.,s
name. A common theme of the accounts and their postings was to denigrate G.D.'s character and
appearance; as just one example, Singh created an account under G.D.'s true name and included
the caption, "Loser Ugly Broke [Homophobic slur]." Singh also used the accounts to post pictures
of G.D. and "dox" him.
         Singh, intending to intimidate and harass G.D., also used electronic accounts to express his
desire to physically harm G.D. on or about July 18, 2020, singh, using an anonymous social
media account that he created posted a video, in which an unidentified person is sien knocking
on the front door of a residence in Baltimore, Maryland, where G.D. previously lived (apparently
believing G.D. still lived there). singh "tagged" G.D. in the social media post, telling him to
answer the door. singh later posted the same video to youTube, which included G.D.,s name, the
real address ofG.D.'s former residence, and Singh's statement that he went to that location to fight
G.D. Later, when investigators searched Singh's phone upon his arrest, they found, among other
things, (1) the aforementioned video with metadata indicating that the video had in faci been
recorded in Baltimore, where G.D. had lived; and @) a July 24,2020 note,titled in G.D.'s name,
which listed G.D.'s former address and stated, "He's poor ahahahaha I went to this ugly kids house
to slap the s*** iut [sic] of him (have recording) and he didn't open the door LMFAOOO..



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                                           Conclusion

        The Defendant agrees that he used the mail, an interactive computer service. or electronic
communication service or electronic communication system of interstate commerce to engage in
a course of conduct that caused, attempted to cause, or reasonably would be expected to cause
substantial emotional distress to A.B. and G.D.. and that he did so with the intent to harass or
intimidate A.B. and G.D.

       SO STIPULATED:



                                             CAh
                                             Christopher M.
                                             Assistant United States Attomey


                                                  bra^r^l\i,$
                                             Desmond B. Singh
                                             Defendant




                                                                .F
                                            Counsel for Defendant




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